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                        UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

CITY OF GRAND RAPIDS,                        )
                 Plaintiff,                  )
                                             )        No. 1:17-cv-113
-v-                                          )
                                             )        Honorable Paul L. Maloney
GRAND RAPIDS POLICE COMMAND OFFICERS )
ASSOCIATION, et al.,                         )
                     Defendants,             )
                                             )
and                                          )
                                             )
MATTHEW JANISKEE,                            )
                     Counter-Plaintiff/      )
                     Third-Party Plaintiff/  )
-v-                  Cross-Plaintiff,        )
                                             )
CITY OF GRAND RAPIDS,                        )
                     Counter-Defendant,      )
                                             )
 KRISTIE KIBBEY ETUE and JEFFREY GETTING, )
                     Cross-Defendants,       )
                                             )
DAVID RAHINSKI, et al.,                      )
                     Third-Party Defendants. )
                                             )

                                       ORDER

      The Court held oral argument on two motions. For the reasons stated on the record,

the motion for summary judgment (ECF No. 72) filed by the City of Grand Rapids and Third

Party Defendants is TAKEN UNDER ADVISEMENT. The Rule 56(d) motion for

discovery (ECF No. 83) filed by Mathew Janiskee is GRANTED. IT IS SO ORDERED.

Date: August 18, 2017                                  /s/ Paul L. Maloney
                                                      Paul L. Maloney
                                                      United States District Judge
